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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                       DECISION AND ORDER
                                                            11-CR-116S
             v.


JESUS TRINIDAD-RIVERA,

                               Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 68) by defendant Jesus

Trinidad-Rivera for reconsideration of detention and release on reasonable bail

conditions. Defendant has been in custody since the Court ordered him detained

at the conclusion of his detention hearing on March 21, 2011. Defendant seeks

reconsideration on the grounds that his proposed residence in Connecticut, his

purported employment opportunity in Connecticut, and his assessment of the

Government’s discovery constitute new information warranting a reassessment of

detention. The Government opposes release, arguing that defendant has no

material information that has changed since his detention hearing last year. The

United States Probation Office (“USPO”) recommends continued detention.

       The Court held oral argument on August 9, 17, and 30, 2012. For the

reasons below, the Court denies defendant’s motion.
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II.     BACKGROUND

        This case concerns allegations of a drug distribution conspiracy. The

indictment, filed on March 31, 2011, contains one count plus a forfeiture

allegation. In Count One, the Government charged defendant and others with

conspiracy to possess with intent to distribute, and to distribute, one kilogram or

more of a mixture or substance containing heroin, in violation of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(B), and 846. The pre-indictment complaint (Dkt. No. 1)

indicates that defendant’s alleged offense conduct includes an incident on March

17, 2011, when defendant was driving the vehicle on Interstate Highway 86. Law

enforcement agents pulled the vehicle over for speeding and a seat belt violation;

subsequent events involving defendant and his passengers led to the discovery

of $60,000 in U.S. currency in the spare tire of the vehicle. The Court arraigned

defendant on April 4, 2011. Prior to the indictment, when defendant was arrested

on the criminal complaint, the Court held a detention hearing on March 21, 2011.

At the conclusion of the detention hearing, the Court held orally that defendant

would remain in custody because he presented a risk of danger to the community

and a risk of flight.

        The Court relied on defendant’s pretrial services report, dated March 21,

2011 and updated March 23, 2011, when ordering detention. According to the

pretrial services report, defendant lacked any ties to this District and lacked

resources for bail. The pretrial services report noted that defendant had a

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criminal assault case pending in Connecticut. The pretrial services report also

noted the large amount of cash that law enforcement agents found in defendant’s

vehicle.

      On July 11, 2012, defendant filed the pending motion for reconsideration

and for release on reasonable bail conditions. In support of his motion,

defendant argues that he has several pieces of new information that support

revisiting his detention status. Defendant claims that he can live either at his

sister-in-law’s house in Connecticut or with family in Youngstown, Ohio.

Defendant submits that he has an employment opportunity at a tire store in

Connecticut. Additionally, defendant asserts that he has reviewed the discovery

that the Government has provided and has not found any evidence against him

with respect to drug transactions or other involvement in the alleged conspiracy.

      The Government opposes defendant’s release, contending that defendant

has not offered any new facts that would warrant reconsideration. The USPO

has submitted a memorandum, dated July 23, 2012, noting that defendant’s

conviction on his Connecticut assault charge is the only changed circumstance

since the detention order. The USPO has expressed continued concern about

the nature of the offense, including the large amount of cash found in defendant’s

vehicle on March 17, 2011.




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III.     DISCUSSION

         “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such release

will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.’” U.S. v. Sabhnani,

493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered when

assessing flight or danger include the nature and circumstances of the offense

charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g).

         With respect to flight risk, “the government carries a dual burden in seeking

pre-trial detention. First, it must establish by a preponderance of the evidence

that the defendant, if released, presents an actual risk of flight. Assuming it

satisfies this burden, the government must then demonstrate by a preponderance

of the evidence that no condition or combination of conditions could be imposed

on the defendant that would reasonably assure his presence in court.” Sabhnani,

493 F.3d at 75 (citations omitted). “To order detention, the district court must

find, after a hearing, that the government has established the defendant’s

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dangerousness by clear and convincing evidence. The rules of evidence do not

apply in a detention hearing. Further, the government may proceed by proffer.”

U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations omitted).

      Once the Court has issued a detention order in the manner set forth above,

it may reconsider that order and reopen the detention hearing “at any time before

trial if the judicial officer finds that information exists that was not known to the

movant at the time of the hearing and that has a material bearing on the issue

whether there are conditions of release that will reasonably assure the

appearance of such person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(f)(2). “New and material information for

Section 3142(f)(2)(B) purposes consists of something other than a defendant’s

own evaluation of his character or the strength of the case against him: truly

changed circumstances, something unexpected, or a significant event.” U.S. v.

Jerdine, No. 1:08 CR 00481, 2009 WL 4906564, at *3 (N.D. Ohio Dec. 18, 2009)

(citation omitted). Where evidence was available to defendant at the time of the

hearing, the hearing will not be reopened. See U.S. v. Dillon, 938 F.2d 1412,

1415 (1st Cir. 1991); U.S. v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

      Here, defendant has not presented any information unknown to him

previously that would warrant a change in his custody status. The Court

previously found defendant to be a danger and a flight risk based on his criminal

history, the nature of the pending charges, and the information available in the

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pretrial services report. Those factors have not changed. Defendant has

submitted his assessment of the strength of the case against him, based on his

review of the pretrial discovery that he has received. “Nevertheless, while a

movant may certainly (and usually will) become aware of new evidence as a

result of discovery or investigation, and that evidence will almost certainly bear on

at least the ‘weight of the evidence’ and ‘nature of the charge’ factors considered

during a detention review, this Court believes that Congress intended new

information to signify something other than a defendant’s own evaluation of the

strength of the case against him: truly changed circumstances, something

unexpected, or a significant event.” U.S. v. Rodriguez-Adorno, 606 F. Supp. 2d

232, 239 (D.P.R. 2009) (citations omitted); accord U.S. v. Beutler, No. 09-CR-

96S, 2011 WL 3321374, at *2 (W.D.N.Y. Aug. 2, 2011) (McCarthy, M.J.). As for

proposed residences, defendant knew previously that he had family in Ohio and

Connecticut. The Court also has concerns that the proposed Ohio residence

might have a connection to the alleged offense conduct and that the proposed

Connecticut residence appears to be part of an unstable family situation that lies

a significant distance from this District. Cf. U.S. v. Mansuryan, No. 10-10060-03-

EFM, 2010 WL 2545989, at *2–3 (D. Kan. June 22, 2010) (“Further militating

against release is the fact that Defendant has failed to identify a suitable place for

him to reside while out on release.”).




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        In short, defendant has given the Court no new and material information

that helps his effort to change his custody status. The Court is content to let its

prior detention order stand.

IV.     CONCLUSION

        For all of the foregoing reasons, the Court denies defendant’s motion for

reconsideration (Dkt. No. 68). Defendant shall remain in custody pending trial.

        Defendant shall remain committed to the custody of the Attorney General

for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

        Despite the Court’s order of detention, defendant shall be afforded

reasonable opportunity for private consultation with counsel. Additionally, on

order of the Court or on request of an attorney for the Government, the person in

charge of the corrections facility in which defendant is confined shall deliver

defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding in this case.

        In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.

        SO ORDERED.
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                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE

DATED: September 12, 2012


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